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   UNITED STATES BANKRUPTCY COURT
   DISTRICT OF NEW JERSEY
   Caption in Compliance with D.N.J. LBR 9004-1(b)
   Obermayer Rebmann Maxwell & Hippel LLP
   Edmond M. George, Esquire
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   Counsel to the Debtor
   and Debtor in Possession

   In re:                                                    Chapter 11

   ALUMINUM SHAPES, L.L.C.,                                  Case No. 21-16520-JNP

                                Debtor.



 TO: ALL INTERESTED PARTIES



                         NOTICE OF STATUS AND ADJOURNMENT

        The Debtor, Aluminum Shapes, L.L.C., hereby provides notice that; the below-listed

 hearings, currently scheduled to be heard by the Court on October 28, 2021, at 1:00 P.M., are either

 adjourned, withdrawn, or settled as follows:

        1.      The Debtor’s Motion to Seal as to Exhibits “A” and “B” of the Debtor’s Motion to

                Approve the KERP and the KEIP is CONTINUED to November 4, 2021, at 11:00

                A.M.
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        2.     The Debtor’s Motion to Approve the KERP and the KEIP is CONTINUED to

               November 4, 2021, at 11:00 A.M.

        3.     The Debtor’s Motion to Sell/For Bidding Procedures and Related Relief is

               CONTINUED to November 12, 2021, at 10:00 A.M.

        4.     The Hearing to Show Cause as to the injunctive relief sought by the Debtor against

               Ultimate Software Group, Inc. is CONTINUED to November 12, 2021, at 10:00

               A.M.

        5.     The Debtor’s Motion to Approve Use of Cash Collateral is WITHDRAWN.

        6.     Ford Motor Company’s Motion for Relief from the Automatic Stay is SETTLED

               by way of an Order to be submitted.

 All other hearing dates in this matter remain unchanged.



                                                     Respectfully submitted,
 Dated: October 27, 2021                 By:         /s/ Edmond M. George
                                                     Edmond M. George, Esquire
                                                     Michael D. Vagnoni, Esquire (pro hac vice)
                                                     Turner N. Falk, Esquire
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                                                     Counsel to Chapter 11 Debtor,
                                                     Aluminum Shapes, L.L.C.
